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DECLARATION OF HENRY WILLIAM FELLHAVER

1 Henry William Fellhauer, am 23, and fully competent to make the following

declaration:

1. I have known Bobby Gieswein since approximately 2018.
2 I participated in some Woodland Wild Dogs outings.

3. I considered the Woodland Wild Dogs to be a group of friends with

shared interests in camping, shooting, and outdoor survival. | considered the idea of

naming us as a bit silly.

4. The most people that I have ever been with on a Woodland Wild Dogs

outing is five people. They were all my close friends.

5. I was never required to go through any initiation, pay any dues, attend
particular events or meetings, follow any rules, or share any ideology to join in

Woodland Wild Dog outings. There was no formal hierarchy in the group.

6. There were people in the group who were not ardent supporters of
former President Trump, and who did not even cast their votes for him, including

myself,

ite The group was not anti-government.

8, The last time I went camping with this group was probably at the end

of 2019.

9. Bobby never told me he was an Oathkeeper and I never had any reason

to think he was.
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10. Bobby never told me he was a Proud Boy and I never had any reason to
think he was.
11. Bobby also never told me he was part of any other group, and I had no

reason to think that he was.

12. I know that Bobby hung out at least one person who identified as a

“Th rea Percenter” for a while when we first met, but I have not seen Bobby with this

person for years, and Bobby and I never discussed the group.

13. Bobby told me he was going to Washington, DC for the rally planned in

support of former President Trump. Bobby did not ask me to join him.

14. Bobby never suggested that he had any plan to get into the Capitol,
prevent the counting of electoral votes, or prevent Joe Biden from taking office as

President.

15. Ihave never seen Bobby threaten violence, let alone actually commit

violence against another person.

16. Bobby frequently wore his plate carrier on camping outings, and even

around town.
17. Bobby talked to me about wanting to a be a police officer.

| declare under penalty of perjury that the foregoing is true and correct

Executed on June % 2021 NW \) aS UW
by: Hénvy William Fellhauer
